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                        Exhibit 7
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  1                           UNITED STATES DISTRICT COURT

  2                         CENTRAL DISTRICT OF CALIFORNIA

  3

  4     V.R., a minor, by and through her
        guardian ad litem Ariana Toscano,
  5     individually and as successor in
        interest to Juan Ramon Ramos, deceased;)
  6     and RAMONA TERRAZAS, individually,     )
                                                            )
  7                         Plaintiffs,                     )
                                                            )
  8                         vs.                 ) Case No.
                                                )5:19-CV-01023-JGB-SP
  9     COUNTY OF SAN BERNARDINO; GARY WHEELER; )
        THUN HOUN; JASON CALVERT; and DOES 4- )
 10     10, inclusive,                          )
                                                            )
 11                           Defendants.                   )
                                                            )
        --------------------
 12

 13

 14                     REMOTE VIDEOCONFERENCE DEPOSITION OF

 15                                SERGEANT JASON CALVERT

 16                               MONDAY, FEBRUARY 15, 2021

 17

 18

 19

 20

 21

 22

 23     Reported Stenographically by:

 24     Jinna Grace Kim, CSR No. 14151

 25     Job No.:     326801


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  1    knife or a box cutter; and how we were going to safely remove
  2    him from the vehicle .
  3                I recall mention of deputies talking to family
  4    members nearby, and I was asked to take up a position of
  5    less-lethal force, that being the Taser, and I had lethal
  6    coverage with at least two deputies.
  7               And Sergeant Wheeler was going to make contact with
  8    a K-9 officer who was on his way .
  9         Q.     So --
 10         A.    Generally speaking, the goal was to have him exit
 11    the vehicle and depending on his level of cooperation, would
 12    depends on our level of force needed to safely take him into
 13    custody.
 14         Q.    Was that the goal, though, to safely take him into
 15    custody?
 16         A.    Absolutely.
 17         Q.    And was he asked at any time to get out of the
 18    vehicle, if you know?
 19         A.    Numerous times that I recall.
 20         Q.     Did you have any information prior to him getting
 21    out of the vehicle?       So this would be at any point in time up
 22    to you seeing him get out of the vehicle.
 23                Did you have any information that the individual had
       injured anyone?
            A.    No.


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  1         Q.     Did you have any information that he had verballY,
       threatened to harm anyone?
            A.     No.

            Q.     Any information he was trying to harm himself?
            A.     No.

            Q.     Did you talk to any of the family members at anY,
       time before he got out of the vehicle?
            A.     No.

  9         Q.     At some point it's my understanding that the K-9
 10    officer arrived?
 11         A.     Yes, sir .
 12         Q.     And they approached the passenger side of the
 13    vehicle at some point?
 14         A.     Yes, sir.
 15                MR. FUJII:     Objection .    Vague as to "they . "
 16    BY MR. GALIPO:
 17         Q.     I guess the K-9 officer and, perhaps, Sergeant
 18    Wheeler was with him?
 19         A.     Yes, sir .
 20         Q.     And you probably seen some of this recently on the
 21    video?
 22         A.     Yes, sir .
 23         Q.     And at some point was there an attempt to break out
 24    the right front passenger window?
 25         A.     Yes, sir .

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  1    what I meant.      So the vehicle as it relates to the decedent's
  2    vehicle pointing towards 12 o'clock, I was standing at
  3    approximately 7: 30.       So to the left and to the rear of the
  4    driver side door .
  5         Q.     Thank you.     That's very helpful .
  6                Did you have any cover in your position?
  7         A.    Not immediate .
  8         Q.    And what type of Taser did you have?
                  Was it an X26, X2, or what was it?
            A.     The X2.
 11         Q.     I'm more familiar with the X26, and I'm not sure
 12    what the difference is.
 13                Can you basically tell me how the X2 is different
 14    than the X26?
 15               MR. FUJII:      Objection .   Calls for speculation.
 16                If you know the difference.
 17                THE WITNESS:     I know of several differences .         I have
 18    not been part of a teaching of the X2 .           However, I'm very
 19    familiar with the use and some of the distinct differences in
 20    general.     I can't speak to any scientific differences, but
 21    the physical difference as well as the some of functionality,
 22    I can't speak to .
 23    BY MR. GALIPO:
 24         Q.     Please do.     I just want it general .
 25                I'm not expecting anything specific because I am


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  1    vehicle?
  2         A.    A few seconds .
  3         Q.    And, if you recall, was anyone giving him commands
       to get out of the vehicle at that point?
            A.     I believe so .
  6         Q.    And when he got out of the vehicle, where were you
  7    positioned at that point?
  8         A.    Would you like me to use the vehicle as an
  9    orientation so it would lead to what I did?
 10         Q.     Sure.   Whatever you're comfortable with .
 11                However, you're comfortable in describing it is
 12    fine.
 13         A.     So from the vehicle's final resting point, when I
 14    first saw him get out of the vehicle, I recall being at
 15    approximately the 8 o'clock position.
 16         Q.    And how far at that point do you think you were from
 17    the driver's door of the vehicle?
 18         A.    My best estimation is 30-ish feet.
 19         Q.     Did you think you were close enough to tase him at
 20    that point he got out?
 21         A.     I would have to speculate on the scientific
 22    capabilities of the Taser .        I prefer to be closer, but at
 23    that point I'm not sure if I was close enough or not, but I
 24    was willing to try to save his life.
 25         Q.    Okay.    Was that your goal to save his life


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  1         A.    No.

  2         Q.    When he got out of the vehicle the first time, did
  3    you recognize the item as a box cutter?
  4         A.     Yes.
  5         Q.    Was the driver side window partially down?
  6         A.    At what point?
  7         Q.     Initially.     During the 20 minutes that you were at
  8    the scene before the car moved forward.
  9         A.     There were points at which the window was down
 10    approximately an inch or an inch and a half, but then he
 11    rolled it back up .
 12         Q.    Was there some discussion about deploying OC into
 13    the car?
 14         A.     Yes.
 15         Q.     Did Sergeant Wheeler essentially say that he thought
 16    that might not be a good idea?
 17               MR. FUJII:      Objection.     I think -- I listened to the
 18    testimony and it was reference to pepper spray, not OC .
 19                But I know they're similar.
 20               MR. GALIPO:      Okay .   I'm just going by the words he
 21    used in his statement based on the transcription I have.
 22               MR. FUJII:      Okay.
 23               MR . GALIPO :    But I think we're talking about the
 24    same thing .
 25    BY MR. GALIPO:


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  1         Q.     Is that generally OC spray, pepper spray?
  2                Do you use those terms sometimes interchangeably,
  3    Sergeant?
  4         A.     Yes, sir .
  5         Q.     And did Sergeant Wheeler indicate that he did not
  6    think that the OC spray was necessarily a good alternative?
  7         A.     He had his reasonings against it.
  8         Q.     Do you recall what the reasonings were?
  9         A.     No.     There was no time to get into his reasonings.
 10                It was not unreasonable not to use pepper spray or
 11    OC spray, and that was a decision that he made and he's the
 12    primary officer at the scene.
 13         Q.     But you do recall it being discussed?
 14         A.     Yes, sir.
 15         Q.     Do you recall there being any concern as to how it
 16    might affect the dog that was in route?
 17         A.     I believe that may have been part of the
 18    conversation.        So yeah.
            Q.     Okay.     The two deputies that were lethal cover for
       you, do you know if either one of them ever fired?
            A.     I know forensically after the fact they did not
       fire.
 23                I was not aware anyone firing at the time including
 24    Sergeant Wheeler.        And I didn't figure that out until after
 25    the fact.

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  1    vehicle at the time you heard the bean bag round and saw it
  2    strike him in the chest?
  3           A.     I believe I recall he was roughly within arms' reach
  4    of the door .
  5           Q.    And the door was opened at that point?
  6           A.     Yes, sir .
  7           Q.    And would the opened door be behind him as he was
  8    facing west?
  9           A.     Yes.
              Q.     Prior to that first bean bag round being fired, did
       you see him trying to harm himself at all with the box
       cutter?
              A.    No .

 14           Q.     Do you know who the closet deputy was to him at that
 15    point?
 16           A.    No.

 17           Q.     Do you know if there was anyone closer to him than
 18    you?
 19           A.     I believe there was .    I just don't recall who.
 20           Q.    And what did you see that made you believe that the
 21    bean bag round hit him in the right side of the chest?
 22           A.     Initially, I believe I recall seeing the actual bean
 23    bag round bounce off his chest, but at some point I saw some
 24    blood on his shirt as I recall.
 25           Q.    And do you recall if that was the front of his shirt

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   1        Q.    And do you have a sense of how much time passed from
   2   the last bean bag round in that series to you deploying your
   3   Taser?
   4        A.     I'm sorry.    Can you ask that again?
   5        Q.     Sure.   Timing-wise, I understand the first bean bag
   6   round hit him in the, chest and then there might have been a
   7   second or third bean bag round.          And then if I'm
   8   understanding your testimony, very soon thereafter, you
   9   deployed your Taser?
  10        A.     Yes, sir .
  11        Q.     I'm just wondering, are we talking like a second
  12   after the last bean bag round you deployed your Taser, or
  13   what was the time between the last bean bag in that set and
  14   you deploying the Taser?
  15        A.     I know it was fast .      I don't have any specific
  16   independent recall of timing.          I was -- I deployed my Taser
  17   in response to a lack of response from the suspect .              So that
  18   is to say that the bean bag rounds, the less-lethal bean bag
  19   rounds were ineffective in encouraging him to drop the edged
  20   weapon.    And I tried to move forward close enough to deploy
  21   my Taser in hopes that might have an effect on him.
  22        Q.    And where did you aim it on his person?
            A.     So I aimed it approximately his upper torso area.
            Q.    And do you know if either one of the probes or darts
       struck him?

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   1        A.     I know that one of them did.
   2        Q.     And the one that struck him, do you know where it
   3   struck him?
   4        A.     I do not .
   5        Q.     How did you know that one struck him?
   6        A.     Because when he ran I believed I recall seeing the
   7   probe wire following it.
   8        Q.     You just don't recall what part of his body?
   9        A.     No, sir .
  10        Q.     So you have the two or three bean bag round, then
  11   your Taser deployment.
  12               What does he do then?
  13        A.     He ended up running towards the backyard of the
  14   residence .
  15        Q.     Did you ever see him get back in the car?
  16        A.     He got in the car at one point, and then when he got
  17   out the second time, like, I don't recall exactly what the
  18   sequence of events was at that particular time.
  19               However, he, at some point, ran from the vehicle
  20   into the yard.
  21        Q.     So what I'm trying to get at, when he got out the
  22   first time, is that when the bean bag rounds and the Taser
  23   occurred?
  24        A.     As I stated earlier, I believed so.           If not, it's
  25   very close to when he got out the second time.              I just don't

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   1   entangled in an electrical cord.
   2               Do you recall what time you're referring to?
   3              Would that be the first time he got out or after he
   4   got out the second time, if you remember?
   5        A.    As I sit here today, I don't know which, but there
   6   was electrical cord extending from his vehicle.              You know,
   7   contextually, it didn't mean anything other than the fact
   8   that there was actually a cord extending from his vehicle
   9   that he appeared entangled in.
  10        Q.    Now, was there some kind of an alley at the end of
  11   this street?
  12        A.     Yes, sir .
  13        Q.    Which way would the alley run?
  14        A.     It ran north and south .
            Q.    And was there a fence of any kind dividing the alleYa
       from the residential property?
            A.     Yes, sir.
            Q.    And was that the residential property where there
       were family members?
            A.     Yes, sir.
  21        Q.     Do you have an estimate as to how many officers were
  22   on-scene when he got out of the car?
  23        A.     In total, no.     I don't have an estimate unless I
  24   looked at the call history to see who arrived on-scene, at
  25   what point they arrived on-scene, and where they were either

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   1   system.
   2        Q.     So the two or three bean bag rounds that you talked
   3   about earlier, those were the only bean bag rounds you
   4   heard?
   5        A.     Yes.
   6        Q.     Just so we're clear, and I think we are .
   7               I was wondering whether you heard bean bag rounds
   8   when he got out of the car the first time and then heard one
   9   or more bean bag rounds after he got out of the car the
  10   second time?
  11        A.     Right .    And the timing of what you're explaining is
  12   almost split second in my mind even as I try to recall it now
  13   years later .
  14              At some point there are bean bag rounds in response
  15   to the decedent's lack of cooperation in dropping the edged
  16   weapon.    At some point after several bean bag rounds, I
  17   deployed my Taser and it had no effect.
  18        Q.     Did you deploy it once or more than once?
  19        A.     In totality I deployed it more than once, and that
  20   is a little bit further in the future from what we're talking
  21   about right now.
            Q.     But do you believe at least you deployed your Taser
       before he started to run in the alley?
            A.     Yes.      I do believe that .
  25        Q.    And do you have an estimate as to how long after you

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   1                  I realize there was a deputy positioned at the other
   2   end of the alley .
   3                  Do you know what deputy that was?
   4          A.      Alfredo Lopez .
   5          Q.      Do you know if he was in his car or out of his
   6   car?
   7          A.      I don't know .    I know that his car was positioned
   8   down there .       I don't know what vantage point he attempted to
   9   take after getting out of his car .          He would have to answer
  10   to that.
              Q.      Do you even know if he was in his car or out of his
       car when Sergeant Wheeler shot the decedent?
              A.      I don't know .
              Q.      But wasn't he positioned over a 100, 150 feet down
       the alley?
              A.      Again, I don't know what his position was of his
       physical body.        His car was at the other end of the alleY.
       way.        And -- I mean that's probably a decedent estimation for
       the vehicle .       I don't know where his person was .
  20          Q.      So other than Officer Alfred Lopez, the other
  21   officers would have been west of the decedent when he got out
  22   of the car; is that correct?
  23          A.      West and south, yes.
              Q.      So what I'm wondering, when he got out of the car
       the second time, did you ever see him charging towards any of

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       the officer's that were west or south of him with the box
       cutter?
            A.    No, sir.
            Q.    And so when he was running in the alley, was he
       generally running away from the officers who were west and
       south of him?
            A.    Generally, I think that's a fair characterization.
   8        Q.    Now, in your statement you say that at some point
   9   you heard a loud shot.
  10               Do you remember saying that in your statement?
  11        A.    As I sit here today, I don't recall that.
  12        Q.     You say (reading):
  13               "I know I heard a loud shot that hit him, and I saw
  14   blood, but I believed it might have been one of the bean bag
  15   rounds that pierced his skin . "
  16        A.     So If I said that, it was in true belief that it was
  17   a bean bag round that hit him.          Spatially speaking, I didn't
  18   hear, as I recall, at that time or as I sit here today
  19   anything from my left which as a result of video review, in
  20   my mind was likely where I was in relation to where the shot
  21   was taken .
  22        Q.     So as he was running, as he was moving into the
  23   alley and running north, did you hear any rounds being fired
  24   at him?
  25        A.    No .   Because after my Taser I don't recall any

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   1   further rounds being fired .
   2        Q.     If I understand your testimony, you're saying that
   3   you deployed the Taser the first time before he ran?
   4        A.     Yes.
   5        Q.     Did you have any information that he, meaning the
       decedent, before he ran had committed a serious felon¥,
       involving the infliction of serious injury or death?
            A.    No.     That he had committed, no.
   9        Q.     Did you ever hear him say anything?
  10        A.    No, sir .     Not that I recall .
            Q.     For example, did you hear him verbally threat to
       harm anyone?
            A.    No, sir.
            Q.     Did you ever see him make any stabbing motions with
       the box cutter?
            A.    No, sir.      Not at the distance that I saw him.
            Q.     Did you hear any warning that deadly force was going
       to be used?
            A.     I did not.
  20        Q.     Did you know -- and I think you answered this .
  21               Did you know initially on-scene that someone had
  22   used deadly force?
  23        A.    No .
  24        Q.    When did you first find out that someone had used
  25   deadly force?

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   1        A.    With at least one dart, I believe I did .
   2        Q.     Did you think based on your training it was
   3   appropriate to tase him at that point?
   4        A.     Yes.   It would have taken seconds and then vital
   5   life-saving time away from defending the lives of the people
   6   inside the yard if I transitioned to anything else .              My job
   7   was the Taser and attempt to save his life.
   8               If I could safely do so, that was the goal.
   9        Q.     Did you also have a firearm holstered on your
  10   person?
  11        A.     Yes, sir, I did.
  12        Q.    Are you right-handed or left-handed?
  13        A.     Right-handed .
  14        Q.     So the holster would be on your right side?
  15        A.     Yes, sir .
  16        Q.    And then after you tased him the second time, what
  17   did you do next?
  18        A.     I ran around the opening of the fence and towards
  19   the north, northeast, towards the front door of the residence
  20   where family members appeared to be struggling with him.
  21        Q.     Do you remember a female family member taking the
  22   box cutter away from him or having it in her hand?
            A.     I remember a female there.         I don't know at what
       point that occurred, but I understand from others that she
       disarmed him.

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   1        A.     For quite some time.       I just don't recall at what
   2   point, but they were having all the involved go back to the
   3   Highland Station.       But I remained on-scene for quite a while
   4   for scene integrity and safety.
   5        Q.     Did Sergeant Wheeler at some point ask you to take
   6   his spot as less-lethal?
   7        A.     Yes.   So in the very beginning when I arrived
   8   on-scene, yes.
   9        Q.     To your knowledge, was any officer physicallY.
       injured in this incident?
            A.     To my knowledge, there was no -- there were no
       injuries to any officers.
            Q.     To your knowledge, were there any physical injuries
       to any of the family members inside the yard?
            A.     No.    I have no independent knowledge of any other
       injuries.
  17        Q.     And when Sergeant Wheeler told you that he'd fired a
  18   lethal shot, did he tell you during what time frame he had
  19   fired that?
  20        A.     No, sir.
  21        Q.     Did you have a general understanding that it must
  22   have been while he was running in the alley, or you didn't
  23   know?
  24        A.     I didn't know .    He made that indication, and we were
  25   just making sure that all the appropriate personnel were

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